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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                    Case No. 3:20-mj-278


BRIAN KOLFAGE
_____________________________/

                                 ORDER TO APPEAR

      The Defendant appeared before this Court for his initial appearance on an arrest
warrant and indictment from the Southern District of New York. The Defendant is not
requesting court-appointed counsel. The Defendant waived an identity hearing. The
government did not move for detention.

      The Defendant is released from custody on conditions as set forth in the separately
issued conditions of release and ordered to appear in the Southern District of New York
(the “Charging District”), to answer a indictment in case number 20-cr-412. The time to
appear in that court had not yet been set as of the time of Defendant’s initial appearance.
Therefore, the Defendant must appear when notified to do so.

      Dated: August 20, 2020

                                                   s/Hope Thai Cannon
                                                   Hope Thai Cannon
                                                   United States Magistrate Judge
